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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

DONALD FALLS, JILL HARPER,
Dr. ROBERT CASSANELLO, STEPHANIE
NICOLE JAMIESON, as next of friend of
RMJ, Dr. TAMMY L. HODO,
      Plaintiffs,

vs.                                                Case No.: 4:22-cv-00166
RON DESANTIS, in his official capacity as
Governor of Florida; RICHARD
CORCORAN, in his official capacity as
Commissioner of the Florida State Board of
Education; TOM GRADY, BEN GIBSON,
MONESIA BROWN, MARVA JOHNSON,
RYAN PETTY, JOE YORK, in their official
capacities as members of the Florida State
Board of Education; BRIAN LAMB,
TIMOTHY M. CERIO, AUBREY EDGE,
PATRICIA FROST, EDWARD
HADDOCK, H. WAYNE HUIZENGA, JR.,
NATASSIA JANVIER, KEN JONES,
DARLENE LUCCIO JORDAN, ALAN
LEVINE, CHARLES H. LYDECKER,
STEVEN M. SCOTT, WILLIAM SELF,
ERIC SILAGY, KENT STERMON, in their
official capacities as members of the Florida
Board of Governors of the State University
System; and ASHLEY MOODY, in her
official capacity as Florida’s Attorney General,
             Defendants.


MOTION OF LEARNING FOR JUSTICE AND FLORIDA FREEDOM TO
 READ PROJECT FOR LEAVE TO FILE BRIEF AS AMICI CURIAE



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        Learning for Justice (“LFJ”) which researches, among other topics, how race and

American history are taught now and how that teaching could be improved and Florida Freedom

to Read Project (“FFTRP”), a group advocating against censorship in Florida schools, request

leave to file a brief as amici curiae. A copy of the proposed brief is attached hereto.

        While neither the Federal Rules of Civil Procedure nor the local rules provide for amicus

briefs, “district courts possess the inherent authority to appoint ‘friends of the court’ to assist in

their proceedings.” In re Bayshore Ford Truck Sales, Inc., 471 F.3d 1233, 1249 n.34 (11th Cir.

2006). This Court has previously exercised that discretion by considering (1) the proposed

amicus party’s “experience and qualifications,” (2) whether the case is “of particular interest” to

them, (3) the amicus brief’s relevance to the case, (4) whether the case is of “general public

interest” or “concerns constitutional rights,” and (5) whether it was filed sufficiently far in

advance to allow the party not supported by the amicus brief time to respond. See Order Granting

Motion for Leave to File as Amicus Curiae, League of Women Voters v. Lee, No. 4:21-cv-186-

MW/MAF (N.D. Fla. Dec. 12, 2021) ECF No. 358 (Walker, C. J.); Order Granting Motion to

Appear as Amicus Curiae 2; Madera v. Detzner, No. 1:18-cv-152-MW/GRJ (N.D. Fla. Aug. 23,

2018), ECF No. 31 (Walker, C.J.); Order Granting Leave to File Amicus Curiae Mem. 2, Prison

Legal News v. The Geo Grp., Inc., No. 4:12-cv-239-MW/CAS (N.D. Fla. Feb. 25, 2013), ECF

No. 131 (Walker, J.). These factors weigh in favor of granting Learning for Justice and Florida

Freedom to Read Project leave to file a brief as amici.

        First, LFJ and FFTRP are organizations with unique knowledge of the subject matter of

this case. LFJ researches the teaching of “hard history” such as slavery and the legacy of racism

in American society in public schools. It has specific insight about how HB 7 will worsen
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existing shortfalls in the teaching of these topics by chilling the speech of teachers, the

significant obstacles that have deterred teachers from addressing these difficult topics, and the

consequences of that failure. FFTRP has documented the ways in which HB 7 is already having

such a chilling effect in Florida schools through public records research.

       Second, this case is of particular interest to LFJ because the Court’s interpretation of HB

7 and any relief it grants or declines to grant will determine how LFJ can continue to provide its

educational resources to teachers in Florida. It is of particular interest to FFTRP because the

outcome of the case will impact its organizational mission of ensuring Florida students have free

access information and ideas that advance their learning. Third, LFJ and FFTRP’s brief is

relevant to the case because it demonstrates HB 7’s existing impact on the Plaintiffs’ speech and

the exercise of other protected rights. It also shows the consequences of that impact for student

learning. Fourth, this case touches on questions of deep importance to Floridians concerning the

teaching of key questions of American history and the constitutional rights of students, teachers,

and others. Finally, LFJ and FFTRP filed this motion and attached proposed brief seven days

after the last day on which Plaintiffs were permitted to affidavits in support of their Motion for a

Preliminary Injunction and seven days before Defendants’ Opposition to Plaintiffs’ Motion for a

Preliminary Injunction is due, allowing Defendants sufficient time to respond to its arguments if

they so choose.




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Dated: May 25, 2021          Respectfully submitted,

                             /s/ Sam Boyd


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                                CERTIFICATE OF CONFERENCE

       I hereby certify pursuant to Northern District of Florida General Rule 7.1(B) that I met

and conferred by email with counsel for all parties in this matter and none oppose this motion.



Dated: May 25, 2021                   Respectfully submitted,

                                      /s/ Sam Boyd


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                        CERTIFICATE OF COMPLIANCE WITH WORD LIMIT

         I hereby certify that the forgoing complies with Local Rule 7.1(F) in that it contains

fewer than 8,000 words. This motion contains 604 words. The proposed brief contains 3169

words.



Dated: May 25, 2022                    Respectfully submitted,

                                       /s/ Sam Boyd


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